            Case 1:20-cv-09089-JPC Document 5 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  11/06/2020

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GURPEET SINGH,                                                         :
                                                                       :
                                    Petitioner,                        :
                                                                       :           20-CV-9089 (JPC)
                  -v-                                                  :
                                                                       :       ORDER TO ANSWER, 28
THOMAS DECKER, New York Field Office Director for :                                U.S.C. § 2241
U.S. Immigration and Customs Enforcement, et al.,                      :
                                                                       :
                                    Respondents.                       :
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JOHN P. CRONAN, United States District Judge:

        The Court, having examined the petition in this action, which Petitioner filed pursuant to

28 U.S.C. § 2241, hereby ORDERS that:

        The Clerk of Court shall electronically notify the Civil Division of the U.S. Attorney’s

Office for the Southern District of New York that this order has been issued.

        Within sixty days of the date of this order, the U.S. Attorney’s Office shall file an answer

or other pleading in response to the petition. Petitioner may file reply papers, if any, within thirty

days from the date Petitioner is served with Respondents’ answer.

        SO ORDERED.

 Dated:     November 6, 2020
            New York, New York

                                                                       JOHN P. CRONAN
                                                                    United States District Judge
